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UNITED STATES DISTRICT COURT .
EASTERN DISTRICT OF MICHIGAN '

Case: 4:21-cr-20564

UNITED STATES OF AMERICA Judge: Davis, Stephanie Dawkins
° MJ: Ivy, Curtis
Filed: 09-01-2021
Plaintiff, INDI USA v. Benjamin Hyun-Ki Fielder (tt)
v. Violations:

18 U.S.C. § 2422(b)
BENJAMIN HYUN-KI FIELDER,

 

Defendant.
/
vm
‘ / wm
“8, Alc
INDICTMENT uns M) og ouRT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 2422(b) - Attempted Enticement of a Minor to Engage in
Criminal Sexual Activity

1. On or about August 9, 2021, in the Eastern District of Michigan,
Benjamin Hyun-Ki Fielder, using a facility and means of interstate and foreign
commerce, knowingly attempted to persuade, induce, entice, and coerce an
individual who had not attained the age of 18 years to engage in sexual activity for
which any person could be charged with a criminal offense.

All in violation of Title 18, United States Code, Section 2422(b).

 
 

 

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FORFEITURE ALLEGATIONS
18 U.S.C. § 2428 and 28 U.S.C. § 2461

2. The allegations contained in Count One of this Indictment are hereby

re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to 18 U.S.C. § 2428 and 28 U.S.C. § 2461.

3. Upon conviction of the offense charged in Count One of the

Indictment, defendant shall, pursuant to Title 18, United States Code, Section

2428, and Title 28, United States Code, Section 2461, forfeit to the United States

the following:

a.

Any property, real or personal, used or intended to be used to
commit or to facilitate the commission of such offense or any
property traceable to such property; and,

b. Any property, real or personal, constituting or derived from any

proceeds obtained directly or indirectly as a result of such offense.

4. Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of the defendant:

a.

b.

Cannot be located upon the exercise of due diligence;

Has been transferred to, sold to, or deposited with a third party;
Has been placed beyond the jurisdiction of the Court;

Has been substantially diminished in value; or

Has been commingled with other property that cannot be divided
without difficulty;

 
 

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461 (c).

THIS IS A TRUE BILL

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

SAIMA S. MOHSIN
Acting United States Attorney

s/Anthony P. Vance
ANTHONY P. VANCE

Chief, Branch Offices

s/William Valliencourt, AUSA for Ann Nee
WILLIAM VALLIENCOURT, AUSA for ANN NEE
Assistant United States Attorney

 

Dated: 9-1-2021

 
 

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United States District Court Criminal Case Cover
Eastern District of Michigan

 

Sh. __ Judge: Davis, Stephanie Dawkins 5
MJ: Ivy, Curtis

 

NOTE: ttis the responsibility of the Assistant U.S. Attorney signing this form to complete it a INDI USAV. Benjamin Hyun-Ki Fielder (tt)

Filed: 09-01-2021

 

Companion Case Information

Cobuparnue wdst NWUMIDEr:

 

This may be a companion case based on LCrR 57.10(b)(4}"':

 

 

 

ClYes ¥INo

AUSA’s Initials: AN

 

 

Case Title: USA v. Benjamin Hyun-Ki Fielder

County where offense occurred: Shiawassee

Offense Type: Felony

Indictment — based upon pricr complaint [Case number: 21-mj-30390]

Superseding Case Information

Superseding to Case No:

Judge:

 

 

Reason:

Defendant Name Charges

Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case

s/ William Vailiencournt, AUSA for Ann Nee

September 1, 2021

 

 

Date William Valliencourt, AUSA for Ann Nee
Assistant United States Attorney
600 Church Street
Flint, MI 48502
ann.nee @ usdoj.gov
(810) 766-5177

‘ Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already

been terminated.

 
